Case 4:24-cv-00338   Document 44-39   Filed on 03/28/25 in TXSD   Page 1 of 7




                     EXHIBIT 37
     Case 4:24-cv-00338   Document 44-39   Filed on 03/28/25 in TXSD   Page 2 of 7
      Saima Kadir                                                        January 23, 2025
                                                                                        ·


·1· · · · · · · IN THE UNITED STATES DISTRICT COURT
· · · · · · · · FOR THE SOUTHERN DISTRICT OF TEXAS
·2· · · · · · · · · · · ·HOUSTON DIVISION

·3· ·FOOD NOT BOMBS HOUSTON,· ·§
· · ·ET AL.,· · · · · · · · · ·§
·4· · · · · · · · · · · · · · ·§
· · ·PLAINTIFFS,· · · · · · · ·§· Case No. 4:24-cv-338
·5· · · · · · · · · · · · · · ·§
· · ·v.· · · · · · · · · · · · §· (Consolidated Case No.
·6· · · · · · · · · · · · · · ·§· 4:23-cv-1206)
· · ·CITY OF HOUSTON, TEXAS.· ·§
·7· · · · · · · · · · · · · · ·§
· · ·DEFENDANT.· · · · · · · · §
·8

·9

10· · · · · · · · · · · ORAL DEPOSITION OF

11· · · · · · · · · · · · · SAIMA KADIR

12· · · · · · · · · · · ·JANUARY 23, 2025

13

14

15· · · · ORAL DEPOSITION OF SAIMA KADIR, produced as a

16· ·witness at the instance of the Plaintiffs and duly

17· ·sworn, was taken in the above styled and numbered cause

18· ·on Thursday, January 23, 2025, from 9:32 a.m. to

19· ·3:34 p.m., before DONNA QUALLS, Notary Public in and for

20· ·the State of Texas, Notary ID No. 12161359, reported by

21· ·computerized stenotype machine, at the offices of

22· ·Houston City Hall Annex, 900 Bagby Street, 4th Floor,

23· ·Houston, Texas, pursuant to the Federal Rules of Civil

24· ·Procedure, and any provisions stated on the record or

25· ·attached hereto.
     Case 4:24-cv-00338   Document 44-39   Filed on 03/28/25 in TXSD   Page 3 of 7
      Saima Kadir                                                        January 23, 2025
                                                                                   Page 2


·1· · · · · · · · · · ·A P P E A R A N C E S

·2
· · ·FOR THE PLAINTIFF, FOOD NOT BOMBS:
·3· · · · MOLLY PETCHENIK
· · · · · RANDALL HIROSHIGE
·4· · · · TRAVIS WALKER FIFE
· · · · · TEXAS CIVIL RIGHTS PROJECT
·5· · · · 1405 Montopolis
· · · · · Austin, Texas· 78741
·6· · · · (512) 474-5073
· · · · · randy@texascivilrightsproject.org
·7· · · · travis@texascivilrightsproject.org

·8
· · ·FOR THE PLAINTIFF, PHILLIP PICONE:
·9· · · · RANDALL L. KALLINEN
· · · · · KALLINEN LAW FIRM
10· · · · 511 Broadway Street
· · · · · Houston, Texas· 77012
11· · · · (713) 320-3785
· · · · · attorneykallinen@aol.com
12

13· ·FOR THE DEFENDANT, CITY OF HOUSTON:
· · · · · LUCILLE ANDERSON
14· · · · KENNETH S. SOH
· · · · · CITY OF HOUSTON LEGAL DEPARTMENT
15· · · · P.O. Box 368
· · · · · Houston, Texas· 77001-0368
16· · · · (832) 393-6491
· · · · · mlucille.anderson@houstontx.gov
17· · · · kenneth.soh@houstontx.gov

18

19· ·Also Present:
· · · · · KAREN QUINTANILLA, COH
20

21

22

23

24

25
  Case 4:24-cv-00338   Document 44-39   Filed on 03/28/25 in TXSD   Page 4 of 7
   Saima Kadir                                                        January 23, 2025
                                                                               Page 23


·1· · · · A.· About a year.
·2· · · · Q.· And then did you move back to the Houston area?
·3· · · · A.· Yes, I did.
·4· · · · Q.· What was your job after that?
·5· · · · A.· I -- I was -- I currently am chief of Central
·6· ·Library with Houston Public Library.
·7· · · · Q.· So you came back to the Houston Library --
·8· ·Houston Public Library and then immediately became chief
·9· ·of the Central Library?
10· · · · A.· I was hired as the chief of Central Library.
11· · · · Q.· When were you hired?
12· · · · A.· November 2022.
13· · · · Q.· And that's your current position?
14· · · · A.· That is correct.
15· · · · Q.· So you've been in that role just over two years
16· ·now?
17· · · · A.· That is correct.
18· · · · Q.· Did you ever have a job in the Houston Public
19· ·Library where your office wasn't in the Central Library?
20· · · · A.· I have not.
21· · · · Q.· Okay.· Let's take a step back now.
22· · · · · · · · ·Why did you decide to work in library?
23· · · · A.· There are many reasons.· I have a passion for
24· ·helping people, especially when it comes to connecting
25· ·people with their information needs.




                                                                                     YVer1f
  Case 4:24-cv-00338   Document 44-39   Filed on 03/28/25 in TXSD   Page 5 of 7
   Saima Kadir                                                        January 23, 2025
                                                                               Page 24


·1· · · · Q.· What do you mean by their information needs?
·2· · · · A.· Information needs can vary.· It can include
·3· ·somebody looking for a book.· It can include somebody
·4· ·trying to fix their car.· It can include somebody trying
·5· ·to trace their family history.· It's like solving a
·6· ·puzzle.
·7· · · · Q.· What do you see as the role of libraries in a
·8· ·community?
·9· · · · A.· Public libraries, especially public libraries
10· ·in the US, I feel that it's that bastion of democracy
11· ·where people from all walks of life are welcome, all
12· ·ages, all demographics.· These are safe and secure
13· ·places where people can find information in a variety of
14· ·platforms.
15· · · · Q.· And why did you decide to come to the Houston
16· ·Public Library specifically?
17· · · · A.· It was a matter of finding a job at that time.
18· ·But I was also aware that Houston Public Library is a
19· ·large library system that means something to people like
20· ·me who are entering the profession, especially at that
21· ·time, many years ago when I first got my job.· I also
22· ·wanted to work in a large library system where there are
23· ·plenty of opportunities to serve Houstonians from
24· ·various walks of life.
25· · · · Q.· Who does the Houston Public Library serve?




                                                                                     YVer1f
  Case 4:24-cv-00338   Document 44-39   Filed on 03/28/25 in TXSD   Page 6 of 7
   Saima Kadir                                                        January 23, 2025
                                                                               Page 25


·1· · · · A.· The Houston Public Library serves Houstonians,
·2· ·Texans, anybody that walks in our buildings, anybody
·3· ·that accesses our platforms.
·4· · · · Q.· What do you see as the role of the Houston
·5· ·Public Library specifically?
·6· · · · A.· There are many roles -- being a safe place in
·7· ·the community, providing access to different resources,
·8· ·providing a safe place for the citizens in that
·9· ·community, connecting people with many types of
10· ·educational resources.
11· · · · Q.· What kinds of resources do you connect people
12· ·with?
13· · · · A.· It really depends on the type of needs that
14· ·they have, for example, children's resources, books,
15· ·preparing for college for young adults, job resources.
16· · · · Q.· So then the library has a role outside of just
17· ·providing books and literacy resources?
18· · · · A.· Can you clarify that question, please?
19· · · · Q.· Does the library have a role other than being a
20· ·place where people can get books out?
21· · · · A.· I'm not sure I understand the question.
22· · · · Q.· Okay.· It sounds like the library does a lot
23· ·more than only focus on providing books; is that right?
24· · · · A.· Yes, it's a safe place for people.
25· · · · Q.· Okay.· Does the library act as a hub for




                                                                                     YVer1f
     Case 4:24-cv-00338   Document 44-39   Filed on 03/28/25 in TXSD   Page 7 of 7
      Saima Kadir                                                        January 23, 2025
                                                                                 Page 134


·1· ·COUNTY OF HARRIS )

·2· ·STATE· OF· TEXAS )

·3

·4· · · · · · · · · ·REPORTER'S CERTIFICATION

·5

·6· · · · I, Donna Qualls, Notary Public in and for the State

·7· ·of Texas, Notary ID No. 12161359, hereby certify that

·8· ·this transcript is a true record of the testimony given

·9· ·and that the witness was duly sworn by the notary.

10· · · · I further certify that I am neither attorney nor

11· ·counsel for, related to, nor employed by any of the

12· ·parties to the action in which this testimony was taken.

13· · · · Further, I am not a relative or employee of any

14· ·attorney of record in this cause, nor do I have a

15· ·financial interest in the action.

16· · · · Subscribed and sworn to on this the 5th day of

17· ·February, 2025.

18

19
· · · · · · · · · · · ·_____________________________________
20· · · · · · · · · · ·DONNA QUALLS
· · · · · · · · · · · ·Notary Public in and for
21· · · · · · · · · · ·The State of Texas, Notary ID 12161359
· · · · · · · · · · · ·My Commission expires 11/06/2026
22
· · · · · · · · · · · ·Magna Legal Services
23· · · · · · · · · · ·Firm Registration No. 633
· · · · · · · · · · · ·16414 San Pedro, Suite 900
24· · · · · · · · · · ·San Antonio, Texas 78232
· · · · · · · · · · · ·(210) 697-3400
25
